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EXHIBIT C
ee ney Law Firm/Sponsoring Entity Type of Ad
A-1 Abused in Scouting Infomercial
A-2 Abused in Scouting Infomercial
B-1 Sheldon Law Group Infomercial
B-2 Sheldon Law Group Infomercial
B-3 Sheldon Law Group Radio
C-1 1-800-LAW-HELP Legal Network TV
C-2 1-800-LAW-HELP Legal Network TV
C-3 1-800-LAW-HELP Legal Network TV
C-4 1-800-LAW-HELP Legal Network TV
C-5 1-800-LAW-HELP Legal Network TV
E Law Office of Cohen & Jaffe, LLP TV
F-1] AVA Law Group, Inc. TV
F-2 AVA Law Group, Inc. TV
F-3 AVA Law Group, Inc. TV
G Morelli Law Firm TV
H Morgan & Morgan Attorneys TV
I Scout Abuse Helpline/Greg Jones Law, P.A. TV
5 ee tv
K Sheldon Law Group TV
L Slater Slater Schulman LLP TV
M Parker Waichman LLP TV
N Pintas & Mullins Law Firm TV
O Napoli Shkolnik PLLC TV
P All Survivors Advocates Radio
R Junell & Associates Law Firm, PLLC Radio

' Declaration of Evan Roberts in Support of the Debtors’ Motion Pursuant to Section 105(a) of the
Bankruptcy Code and { 27 of the Bar Date Order for Entry of an Order (I) Supplementing the Bar
Date Order and (IJ) Granting Related Relief (D.I. 1145-3).
